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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

FERRING PHARMACEUTICALS INC.,                      )
FERRING B.V., and FERRING                          )
INTERNATIONAL CENTER S.A.,                         )
                                                   )
                       Plaintiffs,                 )
                                                   )
               v.                                  )   C.A. No. 17-479 (GMS)
                                                   )
SERENITY PHARMACEUTICALS, LLC,                     )
REPRISE BIOPHARMACEUTICALS, LLC,                   )
and ALLERGAN, INC.,                                )
                                                   )
                       Defendants.                 )

          DEFENDANTS SERENITY AND REPRISE’S MOTION TO DISMISS

       Defendants Serenity Pharmaceuticals, LLC and Reprise Biopharmaceutics, LLC

(“Reprise”) (collectively, “Defendants”) respectfully move for: (1) dismissal in its entirety of the

Amended Complaint for Declaratory Judgment (the “Amended Complaint”) (D.I. 18), filed on

June 30, 2017 by Ferring Pharmaceuticals Inc., Ferring B.V., and Ferring International Center

S.A. (collectively, “Plaintiffs”), pursuant to Fed. R. Civ. P. 12(b)(1), for lack of subject-matter

jurisdiction; (2) dismissal of the Amended Complaint with respect to Defendant Reprise, the

owner of U.S. Patent Nos. 7,405,203, 7,579,321, and 7,799,761, for lack of personal jurisdiction

pursuant to Fed. R. Civ. P. 12(b)(2); (3) dismissal of Count V of the Amended Complaint,

pursuant to Fed. R. Civ. P. 12(b)(6), for failure to state a claim upon which relief can be granted;

and (4) an Order dismissing the Amended Complaint in its entirety under Fed. R. Civ. P. 15(d)

for failure to seek leave of Court before filing a supplemental pleading.

       Plaintiffs filed their original Complaint on April 28, 2017. (D.I. 1) On June 9, 2017,

Defendants moved for: (1) dismissal of the Complaint pursuant to Fed. R. Civ. P. 12(b)(1), for

lack of subject-matter jurisdiction; (2) dismissal of the Complaint with respect to Defendant
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Reprise for lack of personal jurisdiction pursuant to Fed. R. Civ. P. 12(b)(2); (3) dismissal of

Count V of the Complaint, pursuant to Fed. R. Civ. P. 12(b)(6), for failure to state a claim upon

which relief can be granted. (D.I. 11) In the alternative, Defendants moved the Court to transfer

the case to the Southern District of New York. Thereafter, on June 30, 2017, Plaintiffs filed their

Amended Complaint (D.I. 18) and their Answering Brief in response to Defendants’ June 9,

2017 Motion (D.I. 19), arguing that the motion to dismiss is moot in light of the Amended

Complaint.

       The grounds for this motion are fully set forth in Defendants’ opening and reply briefs

accompanying their Motion to Dismiss, Or In The Alternative, To Transfer, Plaintiffs’

Complaint for Declaratory Judgment (see D.I. 12 and 23), which are incorporated herein by

reference.

                                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                   /s/ Jack B. Blumenfeld
                                                   ____________________________________
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July 14, 2017
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                               CERTIFICATE OF SERVICE

              I hereby certify that on July 14, 2017, copies of the foregoing were caused to be

served upon the following in the manner indicated:

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